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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                     Plaintiff,             )
                                            )                   8:06CR312
       vs.                                  )
                                            )                     ORDER
MARIO AYALA-REYNA,                          )
                                            )
                     Defendant.             )



       This matter is before the court on defendant's unopposed MOTION TO EXTEND TIME
TO FILE PRETRIAL MOTIONS [35]. For good cause shown, I find that the motion should be
granted. The defendant will be given an approximate 21-day extension. Pretrial Motions
shall be filed by November 9, 2006.

       IT IS ORDERED:

      1.    Defendant's MOTION TO EXTEND TIME TO FILE PRETRIAL MOTIONS [35] is
granted. Pretrial motions shall be filed on or before November 9, 2006.

       2.     Defendant is ordered to file a waiver of speedy trial as soon as practicable.

       3.      The ends of justice have been served by granting such motion and
outweigh the interests of the public and the defendant in a speedy trial. The additional
time arising as a result of the granting of the motion, i.e., the time between October
17, 2006 and November 9, 2006, shall be deemed excludable time in any computation
of time under the requirement of the Speedy Trial Act for the reason defendant's
counsel required additional time to adequately prepare the case, taking into
consideration due diligence of counsel, and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).

       DATED this 17th day of October, 2006.

                                          BY THE COURT:


                                          s/ F.A. Gossett
                                          United States Magistrate Judge
